        Case 2:20-cv-01537-MJH Document 393 Filed 04/03/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
SHIRLEY A. CARPIN, as Executor of the        :
Estate of SHIRLEY A. HILSTER, Deceased       :         W.D. PA. No.: 2:20-CV-01537-MJH
and CHARLES W. HILSTER, JR.,                 :
Individually,                                :         ASBESTOS CASE
                                             :
                                 Plaintiffs, :
                                             :
              -against-                      :
                                             :
AIR & LIQUID SYSTEMS CORPORATION, :
as successor by merger to BUFFALO PUMPS :
INC., et al.,                                :
                                             :
                                Defendants. :

                                   ORDER OF COURT
                              3rd          April
       AND NOW, to-wit, this ____ day of _______________, 2022 upon consideration of the

Motion for Voluntary Dismissal of Certain Defendants which are enumerated below, said Motion

is GRANTED. Plaintiffs’ claims and all Defendants’ cross-claims against the following

Defendants are dismissed, without prejudice, with each side bearing its own costs, as to the

following Defendants ONLY:

 A. O. Smith Corporation
 Armstrong International, Inc.
 Carboline Company
 Copes-Vulcan, Inc.
 Crosby Valve, LLC
 DCo LLC, f/k/a Dana Companies, LLC
 DeZurik, Inc.
 Eaton Hydraulics LLC, as successor-by-merger to Eaton Hydraulics, Inc. as
 successor-in-interest to Vickers Inc.
 Electrolux Home Products, Inc. as successor in interest to Copes-Vulcan
 Emerson Electric Co., incorrectly designated as Emerson Electric Co.,
 Individually and as successor in interest to Copeland Corporation
 FirstEnergy Corp.
 Flowserve Corporation f/k/a The Duriron Company Inc.
       Case 2:20-cv-01537-MJH Document 393 Filed 04/03/22 Page 2 of 2




FMC Corporation, on behalf and its former Peerless Pump and Northern
Pump businesses, improperly sued as “FMC Corporation”
I.U. North America, Inc., as successor by merger to The Garp Company, f/k/a
The Gage Company, f/k/a Pittsburgh Gage and Supply Company
Niantic Seal, Inc.
Niantic Seal RIP, Inc.
Pennsylvania Electric Company
Schneider Electric Systems, USA, Inc. f/k/a Invensys Systems, Inc. f/k/a
Foxboro Company
Spence Engineering Company, Inc.
The Goodyear Tire and Rubber Company
Viking Pump, Inc.
Weir Valves & Controls USA Inc. (individually and as successor-in-interest
to Atwood & Morrill Co., Inc.)


                                          BY THE COURT:



                                          ______________________________, J.
